     Case 1:17-cv-00597-APM Document 33 Filed 02/16/18 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                             *
THE JAMES MADISON PROJECT,   *
et al.,                      *
                             *
    Plaintiffs,              *
                             *
          v.                 *      Civil Action No. 17-597 (APM)
                             *
DEPARTMENT OF JUSTICE        *
                             *
    Defendant.               *
                             *
*   *     *     * *  *   *   *   *  *     *    *     * *
                    RESPONSE TO COURT ORDER

   The Plaintiffs, The James Madison Project and Brad Heath (“Plaintiffs”), hereby

submit their response to the defendant Department of Justice’s Response to Order.

See Dkt. #32 (filed February 14, 2018).

   The Plaintiffs believe the defendant Department of Justice (“DOJ”) took the proper

course of action in withdrawing their Glomar response at least in part and appreciate

DOJ’s willingness to avoid unproductive supplemental briefing on the subject. The

Plaintiffs are further cognizant of the need for DOJ to determine (both in consultation

with other federal agency stakeholders and in coordination with the undersigned) the

agreed-upon scope of the official disclosures and a timeframe for processing and possibly

releasing (whether in whole or in part) responsive records. The Plaintiffs have no

objection to this Court dismissing without prejudice the pending dispositive motions and

affording the parties 30 calendar days to confer and discuss those issues.
      Case 1:17-cv-00597-APM Document 33 Filed 02/16/18 Page 2 of 3



   The Plaintiffs do wish, however, to ensure that this matter proceeds in an expeditious

fashion, particularly given the obvious public interest in the information contained within

the records sought by the Plaintiffs. The Plaintiffs do not believe that identifying and

compiling responsive records should require more than 30 calendar days in light of the

Government’s past production of some (if not all) of the same information to

Congressional committees (such as the House Permanent Select Committee on

Intelligence) that have been conducting oversight of related issues involving the Trump

campaign.

   Furthermore, the Plaintiffs request that this Court convene a status conference at the

end of the 30-calendar day timeframe, and that this Court require the presence of

Government officials with substantive decision-making authority at that status

conference. The Plaintiffs are concerned about the possibility of additional fragmented

and ad hoc declassification determinations by the Executive Branch (and particularly by

the President) unnecessarily interrupting the ordinary course of this litigation.

   The move to publish the Nunes Memo, and the President’s decision to declassify and

officially acknowledge the existence of the information contained within the Nunes

Memo, was virtually (if not actually) unprecedented. A separate “counter-memo” (known

as the “Schiff Memo”) was approved by the HPSCI for publication but rejected by the

White House due to national security concerns. http://www.cnn.com/2018/02/09

/politics/democratic-memo-trump-wont-declassify/index.html (last accessed

February 15, 2018). The Schiff Memo is currently being revised in light of those

concerns. www.foxnews.com/politics/2018/02/13/schiff-confident-democratic-memo-

dispute-can-be-worked-out.html (last accessed February 15, 2018). The New York Times




                                              2
      Case 1:17-cv-00597-APM Document 33 Filed 02/16/18 Page 3 of 3



has submitted a motion directly to the Foreign Intelligence Surveillance Court seeking to

unseal and secure the production (whether in whole or in part) of the warrant application

and orders concerning Carter Page. www.washingtonexaminer.com/new-york-times-asks-

fisa-court-to-unseal-carter-page-warrant-application/article/2648144 (last accessed

February 15, 2018).

   The Plaintiffs respectfully submit that the present situation requires a comprehensive

approach that will resolve the universe of potential declassification determinations and

avoid future interruptions. The Plaintiffs request that at the status conference this Court

provide the Government with guidelines and/or instructions for a process by which a

comprehensive classification determination can be made with respect to the universe of

records that are potentially responsive to the Plaintiffs’ FOIA requests. To do otherwise

would render it possible that this litigation will continue to be disrupted each and every

time a political memorandum is drafted and submitted to the President for possible

declassification, thereby requiring the briefing process to start anew.

Date: February 16, 2018

                                              Respectfully submitted,

                                                       /s/
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                                              3
